22-10910-shl        Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20                     Main Document
                                               Pg 1 of 31



                                                       Objection Deadline: October 5, 2022 at 4pm ET

James I. Stang (admitted pro hac vice)
John W. Lucas
Malhar S. Pagay (admitted pro hac vice)
Gillian N. Brown
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, NY 10017-2024
Telephone: 212.561.7700
Fax: 212.561.7777
Emails: jstang@pszjlaw.com
        jlucas@pszjlaw.com
        mpagay@pszjlaw.com
        gbrown@pszjlaw.com

Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------------------------------X
                                                               :
In re                                                          : Chapter 11
                                                               :
MADISON SQUARE BOYS & GIRLS CLUB,                              : Case No. 22-10910-SHL
INC.,1
                                                               :
                           Debtor.                             :
                                                               :
---------------------------------------------------------------X

                         FIRST MONTHLY FEE STATEMENT OF
                     PACHULSKI STANG ZIEHL & JONES LLP FOR
                   COMPENSATION FOR SERVICES RENDERED AND
                REIMBURSEMENT OF EXPENSES INCURRED AS COUNSEL
               TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
               FOR THE PERIOD FROM JULY 16, 2022 THROUGH JULY 31, 2022




1
The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
Bradhurst Avenue, New York, New York 10039.


DOCS_LA:345137.4 54162/004
22-10910-shl         Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20                       Main Document
                                                Pg 2 of 31



Name of Applicant:                                     Pachulski Stang Ziehl & Jones LLP

Authorized to Provide Professional:                    Official Committee of Unsecured Creditors

Services to:                                           Official Committee of Unsecured Creditors

Date of Retention:                                     July 16, 2022

Period for which compensation and                      July 16, 2022 through July 31, 2022
reimbursement is sought:

Monthly Fees Incurred                                  $159,773.00

Fee Reduction                                             ($31,853.00)2

Fees (After Reduction)                                 $127,920.00

20% Holdback:                                             $25,584.00

Total Fees Less 20% Holdback:                          $102,336.00

Monthly Expenses Incurred:                                   $291.19

Total Fees and Expenses Due:                           $102,627.19

This is a    X monthly ____interim ____final                    application



         Pursuant to sections 327, 330, and 331 of chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), Rule 2016-1 of the Local Bankruptcy Rules for the United States

Bankruptcy Court for the Southern District of New York (the “Local Rules”), the Order

Authorizing and Approving the Employment of Pachulski Stang Ziehl & Jones LLP as Counsel to



2
 As disclosed in the Firm’s employment application, the Firm is utilizing rates that are reduced from standard rates
so that attorney time is capped at $900 per hour and paralegal time is capped at $400 per hour. The reduction set
forth in this Fee Statement here accounts for the reduction from the following standard rates, as set forth in Exhibit
A hereto: J. Stang ($1,525); M. Pagay ($1,095); J. Lucas ($1,095); G. Brown ($925); Patricia J. Jeffries ($490); La
Asia S. Canty ($400); Kerri L. LaBrada ($400); and Michael A. Matteo ($460).




DOCS_LA:345137.4 54162/004                            2
22-10910-shl        Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20                    Main Document
                                               Pg 3 of 31



the Official Committee of Unsecured Creditors Effective as of July 16, 2022 [Docket No. 196]

(the “PSZJ Retention Order”), and the Order Establishing Procedures for Monthly Compensation

and Reimbursement of Expenses of Professionals [Docket No. 125] (the “Interim Compensation

Order”),3 Pachulski Stang Ziehl & Jones LLP (“PSZJ”), counsel for the Official Committee of

Unsecured Creditors (the “Committee”) hereby submits this first monthly fee statement (the “ Fee

Statement”), seeking compensation for services rendered and reimbursement of expenses incurred

as counsel to the Committee in this chapter 11 case (the “Case”) during the period July 16, 2022

to July 31, 2022 (the “Fee Period”).

        By this Fee Statement, PSZJ seeks payment in the amount of $102,627.19,

comprised of the following: (i) $102,336.00, which is eighty percent (80%) of the total amount of

fees incurred for actual and necessary services rendered during the Fee Period, and (ii)

reimbursement of $291.19, which is one hundred percent (100%) of actual and necessary

expenses that PSZJ incurred in connection with its representation of the Committee during the

Fee Period.

                              Services Rendered and Expenses Incurred

        1.       Attached as Exhibit A is a summary of PSZJ’s professionals by individual,

setting forth the (i) name and title of each individual who provided services in connection with

this chapter 11 case during the Fee Period, (ii) the year of bar admission for each PSZJ attorney,

(iii) current, standard hourly billing rate for each individual at PSZJ working on this chapter 11

case during the Fee Period, (iv) the capped hourly rate for those individuals, and (v) the total

fees that each individual billed to this Case during the Fee Period at the applicable capped billing

rate. The Committee hired PSZJ on the condition that the total fees incurred would be discounted


3
 Capitalized terms used herein but not otherwise defined herein have the meanings ascribed to them in the Interim
Compensation Order.


DOCS_LA:345137.4 54162/004                          3
22-10910-shl        Doc 204    Filed 09/20/22 Entered 09/20/22 14:58:20            Main Document
                                            Pg 4 of 31



to the extent the blended rate of PSZJ attorneys exceeds $900.00 per hour. As provided in the

PSZJ Retention Order, PSZJ paralegals on this Case do not exceed $400.00 per hour. All of the

PSZJ paralegals who worked on this Case during the Fee Period have standard billing rates in

excess of $400.00 per hour. PSZJ is providing a reduction in fees for the Fee Period in the

amount of $31,853.00.

        2.       Attached as Exhibit B is a summary of the services PSZJ rendered during

the Fee Period and the compensation it seeks, by project category.

        3.       Attached as Exhibit C is a summary of expenses that PSZJ incurred during

the Fee Period and for which it seeks reimbursement.

        4.       Attached as Exhibit D is itemized time detail of PSZJ professionals during the

Fee Period and summary materials related thereto.

                                 Notice and Objection Procedures

        5.       Notice of this Fee Statement shall be given by hand or overnight delivery, or by

email where available, upon (a) the Debtor, Madison Square Boys and Girls Club, Inc., 250

Bradhurst Avenue, New York, New York 10039 (Attn.: Tim McChristian); (b) Debtor’s

counsel: Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New

York, New York 10019 (Attn.: Alan W. Kornberg, Andrew M. Parlen, John T. Weber); and (c)

William K. Harrington, United States Trustee for Region 2, U.S. Department of Justice, Office of

the U.S. Trustee, 201 Varick Street, Room 1006, New York, New York 10014 (Attn.: Andrea B.

Schwartz and Tara Tiantian) (together with PSZJ, at the mailing or email addresses set forth on

the caption page of this Fee Statement, the “Notice Parties”).

        6.       Objections to this Fee Statement, if any, must be filed with the Court and served

upon PSZJ and the other Notice Parties (set forth at para. 5, above) so as to be received no later




DOCS_LA:345137.4 54162/004                     4
22-10910-shl        Doc 204    Filed 09/20/22 Entered 09/20/22 14:58:20              Main Document
                                            Pg 5 of 31



than fifteen (15) calendar days after filing of Fee Statement (the “Objection Deadline”),

setting forth the nature of the objection and the amount of fees or expenses at issue (an

“Objection”).

        7.       If no Objections to this Fee Statement are filed and served as set forth above, the

Debtor shall promptly pay eighty percent (80%) of the fees and one hundred percent (100%) of

the expenses set forth in this Fee Statement.

        8.       If an Objection to this Fee Statement is received on or before the Objection

Deadline, the Debtor shall withhold payment of that portion of this Fee Statement to which the

objection is directed and promptly pay the remainder of the fees and disbursements in the

percentages set forth above. See Docket No. 125. To the extent such an Objection is not resolved

between PSZJ and the party filing the Objection, the Objection shall be preserved and scheduled

for consideration at the next interim fee application hearing to be heard by the Court.

 Dated: September 20, 2022                PACHULSKI STANG ZIEHL & JONES LLP

                                           /s/Gillian N. Brown
                                           James I. Stang (admitted pro hac vice)
                                           John W. Lucas
                                           Malhar S. Pagay (admitted pro hac vice)
                                           Gillian N. Brown
                                           780 Third Avenue, 34th Floor
                                           New York, NY 10017-2024
                                           Telephone: 212.561.7700
                                           Fax: 212.561.7777
                                           Emails: jstang@pszjlaw.com
                                                    jlucas@pszjlaw.com
                                                    mpagay@pszjlaw.com
                                                    gbrown@pszjlaw.com

                                           Counsel to the Official Committee of Unsecured
                                           Creditors




DOCS_LA:345137.4 54162/004                      5
22-10910-shl   Doc 204   Filed 09/20/22 Entered 09/20/22 14:58:20   Main Document
                                      Pg 6 of 31



                                    EXHIBIT A

                            Compensation by Professional
22-10910-shl           Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20                 Main Document
                                                  Pg 7 of 31



                       SUMMARY OF COMPENSATION BY PROFESSIONAL
                         FOR SERVICES RENDERED FOR THE PERIOD
                                JULY 16, 2022- JULY 31, 2022


Name of Professional         Title     Year        Standard   Capped         Total     Total Compensation at
   Partners and                       Admitted      Hourly    Hourly         Billed       Capped Rate ($)
     Counsel                                        Rate ($) Rate in this    Hours
                                                              Case ($)
James I. Stang            Partner        1980      1,525.00    900.00         15.30                 13,770.00
Malhar S. Pagay           Partner        1997      1,095.00    900.00         48.60                 43,740.00
John W. Lucas             Partner        2005      1,095.00    900.00         56.80                 51,120.00
Gillian N. Brown          Counsel        1999        925.00    900.00         14.90                 13,410.00
                                                                             135.60               $122,040.00
Total Partners and Counsel:



  Name of Paralegals and             Standard Hourly       Capped Hourly        Total Billed Hours       Total
  Other Non-Legal Staff               Billing Rate ($)     Rate in this                              Compensation
                                                           Case ($)                                   at Capped
                                                                                                       Rate ($)
Patricia J. Jeffries                      495.00                400.00                 9.90            3,960.00
Kerri L. LaBrada                          495.00                400.00                 3.70            1,480.00
La Asia S. Canty                          495.00                400.00                 0.20               80.00
Mike Matteo                               460.00                400.00                 0.90              360.00
Total Paralegals and Other Non-Legal Staff:                                           14.70           $5,880.00



ALL PROFESSIONALS                DISCOUNTED/CAPPED            TOTAL BILLED                TOTAL
                                 BLENDED RATE                    HOURS                COMPENSATION ($)
                                 ($)

Partners and Counsel                       122,040.00               135.60                    122,040.00
Paralegals/Non-Legal Staff                   5,880.00                14.70                      5,880.00
Total Fees Incurred                                                                           $127,920.00
22-10910-shl   Doc 204   Filed 09/20/22 Entered 09/20/22 14:58:20   Main Document
                                      Pg 8 of 31




                                   EXHIBIT B

                            Compensation by Task Code
22-10910-shl       Doc 204      Filed 09/20/22 Entered 09/20/22 14:58:20     Main Document
                                             Pg 9 of 31




                     AGGREGATE TIME SUMMARY BY TASK CODE
                     FOR THE PERIOD JULY 16, 2022 - JULY 31, 2022



 Task                         Project Category
                                                             Total Hours      Total Fees ($)
 Code
   AA   Asset Analysis and Recovery                                   1.20           1,443.00
   BL   Bankruptcy Litigation                                        54.50          52,295.50
   CA   Case Administration                                           4.70           4,152.50
   CO   Claims Admin/Objections                                       4.10           4,455.50
   GC   General Creditors’ Committee                                 41.00          47,120.00
    H   Hearings                                                      3.00           3,930.00
   IC   Insurance Coverage                                            2.60           2,156.50
   ME   Mediation                                                    23.50          26,902.50
   RP   Retention of Professionals                                    7.00           7,507.00
  RPO   Retention of Professionals/Others                             7.40           8,258.00
   SL   Stay Litigation                                               1.30           1,552.50

        TOTAL                                                       150.30        $159,773.00
22-10910-shl        Doc 204   Filed 09/20/22 Entered 09/20/22 14:58:20   Main Document
                                          Pg 10 of 31



                                        EXHIBIT C

                                     Expense Summary




DOCS_LA:345137.4 54162/004
22-10910-shl      Doc 204        Filed 09/20/22 Entered 09/20/22 14:58:20   Main Document
                                             Pg 11 of 31



                   AGGREGATE ITEMIZED EXPENSES FOR THE PERIOD
                            JULY 16, 2022 - JULY 31, 2022


                  Expenses Category                                              Total
                                                                                 Expenses ($)
    Filing Fee                                                                         200.00
    Lexis/Nexis Legal Research                                                          10.54
    Outside Services                                                                    80.65

    TOTAL                                                                             $291.19
22-10910-shl   Doc 204    Filed 09/20/22 Entered 09/20/22 14:58:20   Main Document
                                      Pg 12 of 31



                                      EXHIBIT D

                         Itemized Time Detail for the Fee Period
      22-10910-shl     Doc 204    Filed 09/20/22 Entered 09/20/22 14:58:20    Main Document
                                              Pg 13 of 31

                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    July 31, 2022
GNB                                                                 Invoice 130635
                                                                    Client    54162
                                                                    Matter    00004
                                                                              GNB

RE: Committee Representaton

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 07/31/2022
               FEES                                                 $159,773.00
               EXPENSES                                                 $291.19
               LESS COURTESY DISCOUNT                                $31,853.00
               TOTAL CURRENT CHARGES                                $128,211.19
               TOTAL BALANCE DUE                                    $128,211.19
       22-10910-shl         Doc 204   Filed 09/20/22 Entered 09/20/22 14:58:20    Main Document
                                                  Pg 14 of 31

Pachulski Stang Ziehl & Jones LLP                                                 Page:      2
Madison Square BGC O.C.C.                                                         Invoice 130635
54162 - 00004                                                                     July 31, 2022




  Summary of Services by Professional
  ID        Name                                Title                Rate          Hours              Amount

 GNB        Brown, Gillian N.                   Counsel             925.00         14.90           $13,782.50

 JIS        Stang, James I.                     Partner            1525.00         15.30           $23,332.50

                                                                                   56.80           $62,196.00
 JWL        Lucas, John W.                      Partner            1095.00
                                                                                    3.70            $1,831.50
 KLL        LaBrada, Kerri L.                   Paralegal           495.00
                                                                                    0.20              $99.00
 LSC        Canty, La Asia S.                   Paralegal           495.00
                                                                                    0.90             $414.00
 MAM        Matteo, Mike A.                     Paralegal           460.00
 MSP        Pagay, Malhar S.                    Partner            1095.00         48.60           $53,217.00

 PJJ        Jeffries, Patricia J.               Paralegal           495.00          9.90            $4,900.50

                                                                                 150.30            $159,773.00
       22-10910-shl      Doc 204          Filed 09/20/22 Entered 09/20/22 14:58:20     Main Document
                                                      Pg 15 of 31

Pachulski Stang Ziehl & Jones LLP                                                      Page:      3
Madison Square BGC O.C.C.                                                              Invoice 130635
54162 - 00004                                                                          July 31, 2022


  Summary of Services by Task Code
  Task Code         Description                                               Hours                        Amount

 AA                 Asset Analysis/Recovery[B120]                              1.20                       $1,443.00

 BL                 Bankruptcy Litigation [L430]                              54.50                     $52,295.50

 CA                 Case Administration [B110]                                 4.70                       $4,152.50

 CO                 Claims Admin/Objections[B310]                              4.10                       $4,455.50

 GC                 General Creditors Comm. [B150]                            41.00                     $47,120.00

 H                  Hearings                                                   3.00                       $3,930.00

 IC                 Insurance Coverage                                         2.60                       $2,156.50

 ME                 Mediation                                                 23.50                     $26,902.50

 RP                 Retention of Prof. [B160]                                  7.00                       $7,507.00

 RPO                Ret. of Prof./Other                                        7.40                       $8,258.00

 SL                 Stay Litigation [B140]                                     1.30                       $1,552.50

                                                                                     150.30             $159,773.00
      22-10910-shl       Doc 204    Filed 09/20/22 Entered 09/20/22 14:58:20   Main Document
                                                Pg 16 of 31

Pachulski Stang Ziehl & Jones LLP                                              Page:      4
Madison Square BGC O.C.C.                                                      Invoice 130635
54162 - 00004                                                                  July 31, 2022


  Summary of Expenses
  Description                                                                                       Amount
Filing Fee [E112]                                                                           $200.00
Lexis/Nexis- Legal Research [E                                                                  $10.54
Outside Services                                                                                $80.65

                                                                                                    $291.19
      22-10910-shl       Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20                  Main Document
                                                   Pg 17 of 31

Pachulski Stang Ziehl & Jones LLP                                                                Page:      5
Madison Square BGC O.C.C.                                                                        Invoice 130635
54162 - 00004                                                                                    July 31, 2022


                                                                                         Hours           Rate      Amount

  Asset Analysis/Recovery[B120]
 07/24/2022   MSP      AA       Review donor restriction issues (.6); email exchange      0.50      1095.00        $547.50
                                with James I. Stang, Iain Nasatir, et al. re: same
                                (.10).
 07/25/2022   JIS      AA       Review materials regarding restricted donation            0.30      1525.00        $457.50
                                analysis.
 07/25/2022   MSP      AA       Review of donor restriction issue (.3); email             0.40      1095.00        $438.00
                                exchange with James I. Stang, Iain Nasatir, et al. re:
                                same (.10).

                                                                                          1.20                    $1,443.00

  Bankruptcy Litigation [L430]
 07/17/2022   MSP      BL       Email exchange with Gillian N. Brown, Iain                0.10      1095.00        $109.50
                                Nasatire re: motion for 2004 examinations of
                                insurers.
 07/19/2022   GNB      BL       Telephone conference with Malhar S. Pagay and             1.00        925.00       $925.00
                                John W. Lucas regarding Rule 2004 practice relating
                                to insurance.
 07/19/2022   GNB      BL       Email Malhar S. Pagay regarding Rule 2004                 0.10        925.00        $92.50
                                discovery on insurers.
 07/19/2022   GNB      BL       Email with Patricia J. Jeffries regarding Everlaw         0.10        925.00        $92.50
                                costs; Email with John W. Lucas and Patricia J.
                                Jeffries regarding Everlaw issues.
 07/19/2022   MSP      BL       Telephone conference with John W. Lucas and               1.00      1095.00       $1,095.00
                                Gillian N. Brown re: discovery targets and strategy.
 07/19/2022   MSP      BL       Review case and other documents re: determining           2.00      1095.00       $2,190.00
                                needed discovery.
 07/19/2022   MSP      BL       Continue review of case and other documents re:           1.80      1095.00       $1,971.00
                                determining needed discovery.
 07/19/2022   MSP      BL       Work on preparation of 2004 examination motions           1.60      1095.00       $1,752.00
                                re: insurers, et al (1.4).; email exchange with James
                                I. Stang, John W. Lucas, Gillian N. Brown, Kerri L.
                                LaBrada re: same (.20).
 07/19/2022   PJJ      BL       Review data site and email Gillian N. Brown               0.30        495.00       $148.50
                                regarding same.
 07/19/2022   JWL      BL       Call with G. Brown and M. Pagay regarding                 1.00      1095.00       $1,095.00
                                discovery targets and outline of related issues (1.0):
 07/20/2022   GNB      BL       Review newly added document to Data Site.                 0.10        925.00        $92.50
 07/20/2022   GNB      BL       E-mail with PSZJ team re Rule 2004 motions                0.10        925.00        $92.50
                                relating to insurance coverage.
      22-10910-shl       Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20                  Main Document
                                                   Pg 18 of 31

Pachulski Stang Ziehl & Jones LLP                                                                Page:      6
Madison Square BGC O.C.C.                                                                        Invoice 130635
54162 - 00004                                                                                    July 31, 2022


                                                                                         Hours           Rate      Amount
 07/20/2022   MSP      BL       Email exchange with Gillian N. Brown, Patricia            0.10      1095.00        $109.50
                                Jeffries, et al. re: document review.
 07/20/2022   MSP      BL       Email exchange with James I. Stang, John W. Lucas,        0.30      1095.00        $328.50
                                Gillian N. Brown, Iain Nasatir, Kerri L. LaBrada re:
                                Motions for 2004 examinations.
 07/20/2022   MSP      BL       Continue work on preparation of 2004 examination          2.80      1095.00       $3,066.00
                                motions (2.7); email exchange with James I. Stang,
                                Iain Nasatir, Kerri L. LaBrada, et al. re: same (.10).
 07/20/2022   MSP      BL       Work on litigation and potential document review          1.50      1095.00       $1,642.50
                                matters, etc (1.4).; email exchange with James I.
                                Stang, Gillian N. Brown, Patricia Jeffries et al. re:
                                same (.10).
 07/20/2022   MSP      BL       Email with Iain Nasatir re: insurer rule 2004             0.10      1095.00        $109.50
                                motion.
 07/20/2022   KLL      BL       Prepare 2004 exam template.                               1.10        495.00       $544.50
 07/21/2022   MSP      BL       Review documents re: identification of potential          1.90      1095.00       $2,080.50
                                insurers.
 07/22/2022   MSP      BL       Email exchange with Gillian N. Brown, et al. re:          0.10      1095.00        $109.50
                                document review status.
 07/22/2022   MSP      BL       Draft motion for rule 2004 examination of insurers.       2.40      1095.00       $2,628.00
 07/22/2022   MSP      BL       Work on case litigation matters, anticipated              0.50      1095.00        $547.50
                                document review, etc. (.4); email exchange with
                                Gillian N. Brown, et al. re: same (.10).
 07/23/2022   MSP      BL       Email exchange with Gillian N. Brown re:                  0.10      1095.00        $109.50
                                preparation of 2004 examination motions.
 07/23/2022   MSP      BL       Email exchange with Iain Nasatir, Gillian N. Brown        0.60      1095.00        $657.00
                                et al. re: potential insurers.
 07/23/2022   MSP      BL       Finalize draft of motion for rule 2004 examination        1.70      1095.00       $1,861.50
                                of insurers (.6); email exchange with Iain Nasatir,
                                Kerri L. LaBrada, Gillian N. Brown re: same (.10).
 07/24/2022   GNB      BL       Email with Malhar S. Pagay regarding Rule 2004            1.00        925.00       $925.00
                                motions relating to insurance.
 07/25/2022   GNB      BL       Telephone conference with Miriam Levi regarding           0.10        925.00        $92.50
                                bates label production of documents from
                                prepetition Data Site.
 07/25/2022   GNB      BL       Telephone conference with Miriam Levi and John            0.10        925.00        $92.50
                                Hammel regarding data site; E-mail PSZJ and Paul
                                Weiss counsel regarding same.
 07/25/2022   MSP      BL       Email exchange with John A. Morris re: Rule 2004          0.10      1095.00        $109.50
                                motion practice.
      22-10910-shl       Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20                 Main Document
                                                   Pg 19 of 31

Pachulski Stang Ziehl & Jones LLP                                                               Page:      7
Madison Square BGC O.C.C.                                                                       Invoice 130635
54162 - 00004                                                                                   July 31, 2022


                                                                                        Hours           Rate      Amount
 07/25/2022   MSP      BL       Email exchange with M. Levi, Gillian N. Brown re:        0.10      1095.00        $109.50
                                Debtor's document data room.
 07/25/2022   MSP      BL       Work on additional potential rule 2004 motion            3.80      1095.00       $4,161.00
                                targets (3.7); email exchange with James I. Stang,
                                IN, Patricia Jeffries, Kerri L. LaBrada, et al. re:
                                same (.10).
 07/25/2022   MSP      BL       Work on case litigation and mediation matters,           2.50      1095.00       $2,737.50
                                document review (2.4); email exchange with Gillian
                                N. Brown, J. Strauss, et al. re: same (.10).
 07/25/2022   PJJ      BL       Review data room regarding insurance documents.          6.50        495.00      $3,217.50
 07/26/2022   GNB      BL       Review email from Judge Chapman regarding                0.10        925.00        $92.50
                                mediation participant; Email Iain A.W. Nasatir and
                                Malhar S. Pagay regarding Rule 2004 motion and
                                service issue.
 07/26/2022   MSP      BL       Email exchange with Iain Nasatir re: comments            1.00      1095.00       $1,095.00
                                regarding motion for 2004 examination of insurers
                                (.10); revise same.
 07/26/2022   MSP      BL       Email exchange with John A. Morris, Beth E.              0.10      1095.00        $109.50
                                Levine re: 2004 motion practice.
 07/26/2022   MSP      BL       Email exchange with Iain Nasatir re: BGCA                0.10      1095.00        $109.50
                                insurance.
 07/26/2022   MSP      BL       Email exchange with Gillian N. Brown re: review          0.10      1095.00        $109.50
                                of insurance policies.
 07/26/2022   MSP      BL       Work on case litigation and document review issues       2.50      1095.00       $2,737.50
                                (2.4); email exchange with Gillian N. Brown, Iain
                                Nasatir, Patricia Jeffries, et al. re: same (.10).
 07/26/2022   PJJ      BL       Review/respond to email from Iain A. W. Nasatir          0.20        495.00        $99.00
                                regarding insurance correspondence.
 07/27/2022   GNB      BL       Review email from state court counsel regarding          0.10        925.00        $92.50
                                insurance policies; mail Iain A.W. Nasatir and
                                Malhar S. Pagay regarding same; Email Patricia J.
                                Jeffries regarding same.
 07/27/2022   GNB      BL       Email with Patricia J. Jeffries regarding Everlaw set    0.10        925.00        $92.50
                                up; Email with John Hammel Strauss regarding
                                bates labeled documents from Data Site.
 07/27/2022   GNB      BL       Email with PSZJ team regarding documents                 0.10        925.00        $92.50
                                produced by Debtor (pre and post petition), and
                                confidentiality and access thereto.
 07/27/2022   MSP      BL       Email exchange with Gillian N. Brown re: potential       0.10      1095.00        $109.50
                                rule 2004 examination targets.
 07/27/2022   MSP      BL       Email exchange with Iain Nasatir re: Rule 2004           0.10      1095.00        $109.50
                                motion re: insurers.
      22-10910-shl       Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20                  Main Document
                                                   Pg 20 of 31

Pachulski Stang Ziehl & Jones LLP                                                                Page:      8
Madison Square BGC O.C.C.                                                                        Invoice 130635
54162 - 00004                                                                                    July 31, 2022


                                                                                         Hours           Rate      Amount
 07/27/2022   MSP      BL       Work on case litigation and document review               2.80      1095.00       $3,066.00
                                matters; email exchange with Gillian N. Brown, J.
                                Strauss, Patricia Jeffries, et al. re: same (.10).
 07/27/2022   PJJ      BL       Coordinate opening of Everlaw database.                   0.30        495.00       $148.50
 07/27/2022   PJJ      BL       Research regarding umbrella policies (.2); download       0.40        495.00       $198.00
                                and circulate internally (.2).
 07/27/2022   PJJ      BL       Import documents into Everlaw.                            0.80        495.00       $396.00
 07/28/2022   GNB      BL       Set up document review parameters in Everlaw.             0.20        925.00       $185.00
 07/28/2022   GNB      BL       Email with Patricia J. Jeffries regarding import of       0.20        925.00       $185.00
                                Debtor's documents into Everlaw and load file
                                issues.
 07/28/2022   MSP      BL       Email exchange with James I. Stang re: Informal           0.10      1095.00        $109.50
                                document request.
 07/28/2022   MSP      BL       Email exchange with Patricia Jeffries re: document        0.10      1095.00        $109.50
                                availability.
 07/28/2022   MSP      BL       Draft motion for Rule 2004 examination of Boys            1.30      1095.00       $1,423.50
                                and Girls Club of America
 07/28/2022   MSP      BL       Work on case litigation and document review               2.10      1095.00       $2,299.50
                                matters (2.0); email exchange with Gillian N.
                                Brown, Patricia Jeffries, M. Levi, et al. re: same
                                (.10).
 07/28/2022   PJJ      BL       Address Everlaw upload issues.                            1.00        495.00       $495.00
 07/28/2022   PJJ      BL       Telephone call with G. Brown re document                  0.40        495.00       $198.00
                                production issues.
 07/29/2022   GNB      BL       Telephone conference with Patricia H. Jeffries            0.40        925.00       $370.00
                                regarding issues with bares-labeled documents from
                                Debtor and options to fix (from Denmark time
                                zone).
 07/29/2022   GNB      BL       Analyze Everlaw load file requirements and                0.50        925.00       $462.50
                                alternatives (.3); E-mail Miriam Levi and John
                                Hammel Strauss regarding same (.1); E-mail Jay
                                Horowitz at KL Discovery regarding same (.1)
                                (from Denmark time zone).
 07/29/2022   GNB      BL       Email with Deborah Spellen regarding Paul Weiss           0.20        925.00       $185.00
                                document production formatting and load files;
                                E-mail Patricia J. Jeffries regarding same.
 07/29/2022   MSP      BL       Email exchange with Iain Nasatir, John W. Lucas re:       0.10      1095.00        $109.50
                                motion for rule 2004 examination of insurers.
 07/29/2022   MSP      BL       Email exchange with Gillian N. Brown, J. Strauss,         0.20      1095.00        $219.00
                                Patricia Jeffries et al. re: discovery document format
                                and process.
      22-10910-shl       Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20                 Main Document
                                                   Pg 21 of 31

Pachulski Stang Ziehl & Jones LLP                                                               Page:      9
Madison Square BGC O.C.C.                                                                       Invoice 130635
54162 - 00004                                                                                   July 31, 2022


                                                                                        Hours           Rate       Amount
 07/30/2022   GNB      BL       Research Debtor real property asset.                     0.10        925.00         $92.50
 07/30/2022   MSP      BL       Work on case litigation and document review              0.90      1095.00         $985.50
                                matters; email exchange with Gillian N. Brown, et
                                al. re: same (.10).
 07/31/2022   MSP      BL       Email exchange with John W. Lucas, Iain Nasatir,         1.10      1095.00       $1,204.50
                                James I. Stang re: revisions to insurer rule 2004
                                motion (.10); revise same.
 07/31/2022   MSP      BL       Email exchange with Iain Nasatir re: draft of BGCA       0.10      1095.00         $109.50
                                rule 2004 examination motion.

                                                                                        54.50                    $52,295.50

  Case Administration [B110]
 07/18/2022   JWL      CA       Review revised suspension order and send questions       1.60      1095.00       $1,752.00
                                to Paul Weiss regarding same (.5); prepare summary
                                of revised suspension order for Committee and
                                follow up questions with Debtor's counsel regarding
                                the same (.5); further review of suspension order and
                                prepare and send comments to Madision's counsel
                                regarding same (.6);
 07/18/2022   LSC      CA       Prepare proposed pro hac vice order.                     0.20        495.00         $99.00
 07/18/2022   KLL      CA       Prepare notice of appearance.                            0.60        495.00        $297.00
 07/18/2022   KLL      CA       Update critical dates memo.                              0.40        495.00        $198.00
 07/19/2022   GNB      CA       Direct staff regarding re-calendaring of critical        0.10        925.00         $92.50
                                dates.
 07/19/2022   JIS      CA       Email J. Lucas regarding modifications to                0.10      1525.00         $152.50
                                suspension motion.
 07/19/2022   JWL      CA       Review multiple drafts of proposed suspension order      0.70      1095.00         $766.50
                                and provide comments and/or sign-off to Madison's
                                counsel regarding same (.7);
 07/19/2022   KLL      CA       Update critical dates memo.                              0.30        495.00        $148.50
 07/20/2022   JWL      CA       Review changes to suspension order and emails with       0.50      1095.00         $547.50
                                parties regarding same (.5);
 07/28/2022   KLL      CA       Update critical dates memo.                              0.20        495.00         $99.00

                                                                                         4.70                     $4,152.50

  Claims Admin/Objections[B310]
 07/22/2022   JWL      CO       Review claims against acknowledged insurance             1.00      1095.00       $1,095.00
                                policies (1.0);
 07/27/2022   MSP      CO       Email exchange with John W. Lucas, et al. re:            0.10      1095.00         $109.50
      22-10910-shl       Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20                   Main Document
                                                   Pg 22 of 31

Pachulski Stang Ziehl & Jones LLP                                                                 Page:     10
Madison Square BGC O.C.C.                                                                         Invoice 130635
54162 - 00004                                                                                     July 31, 2022


                                                                                          Hours           Rate      Amount
                                Abuse Proof of Claim.
 07/27/2022   JWL      CO       Review and outline potential changes to abuse proof        2.50      1095.00       $2,737.50
                                of claim form (2.0); outline changes to claim form
                                for the Committee (.5);
 07/28/2022   JWL      CO       Call with G. Brown regarding the collection of abuse       0.20      1095.00        $219.00
                                claim info (.2);
 07/29/2022   GNB      CO       Telephone conference with John W. Lucas regarding          0.20        925.00       $185.00
                                abuse claim detail.
 07/30/2022   MSP      CO       Email exchange with John W. Lucas, B. Hart, et al.         0.10      1095.00        $109.50
                                re: Abuse claim form.

                                                                                           4.10                    $4,455.50

  General Creditors Comm. [B150]
 07/16/2022   GNB      GC       Email with John W. Lucas regarding Committee               0.20        925.00       $185.00
                                Chair meeting tomorrow.
 07/16/2022   GNB      GC       Prepare meeting outline for Committee                      0.30        925.00       $277.50
 07/17/2022   GNB      GC       Prepare for meeting with Committee members.                0.30        925.00       $277.50
 07/17/2022   GNB      GC       Telephone conference with Committee Co-Chairs,             1.00        925.00       $925.00
                                James I. Stang, and John W. Lucas regarding start of
                                representation.
 07/17/2022   GNB      GC       Summarize notes from telephone conference with             0.10        925.00        $92.50
                                Committee Co-Chairs, James I. Stang, and John W.
                                Lucas.
 07/17/2022   GNB      GC       Prepare and edit materials for first Committee             0.50        925.00       $462.50
                                meeting.
 07/17/2022   GNB      GC       Telephone conference with John W. Lucas re                 0.20        925.00       $185.00
                                preparation for call with Committee members.
 07/17/2022   JIS      GC       Call with J. Lucas regarding upcoming call with            0.50      1525.00        $762.50
                                co-chairs and status of first day motions.
 07/17/2022   JIS      GC       Review and edit memo to Committee regarding first          0.40      1525.00        $610.00
                                day motions.
 07/17/2022   JIS      GC       Email with J. Lucas re edits to first day memo.            0.10      1525.00        $152.50
 07/17/2022   JIS      GC       Call with committee co-chairs regarding case status        1.00      1525.00       $1,525.00
                                and background.
 07/17/2022   JIS      GC       Telephone conference with Committee Co-Chairs,             1.00      1525.00       $1,525.00
                                John W. Lucas, and Gillian N. Brown regarding
                                beginning of Committee representation
 07/17/2022   JWL      GC       Call with J. Stang re meeting with co-chairs (.5); call    5.70      1095.00       $6,241.50
                                with G. Brown regarding same (.2); call with
                                committee chairs regarding organization and next
      22-10910-shl       Doc 204      Filed 09/20/22 Entered 09/20/22 14:58:20               Main Document
                                                  Pg 23 of 31

Pachulski Stang Ziehl & Jones LLP                                                            Page:     11
Madison Square BGC O.C.C.                                                                    Invoice 130635
54162 - 00004                                                                                July 31, 2022


                                                                                     Hours           Rate      Amount
                                steps (1.0); prepare memo for committee regarding
                                July 20 hearing and second day motions (3.0);
                                review proposed orders for second day hearing and
                                provide comments to debtor's counsel (1.0);
 07/18/2022   GNB      GC       Prepare for Committee meeting today.                  0.20        925.00       $185.00
 07/18/2022   GNB      GC       Review emails from Debtor's counsel and docket        0.10        925.00        $92.50
                                entries for the day.
 07/18/2022   GNB      GC       Attend meeting with Committee members, state          1.50        925.00      $1,387.50
                                court counsel, James I. Stang, and John W. Lucas.
 07/18/2022   GNB      GC       Revise notes of Committee meeting.                    0.10        925.00        $92.50
 07/18/2022   GNB      GC       Review email from Committee member regarding          0.30        925.00       $277.50
                                Committee meeting today
 07/18/2022   GNB      GC       Email with James I. Stang and John W. Lucas           0.10        925.00        $92.50
                                following Committee meeting.
 07/18/2022   GNB      GC       Emails with Sophia Lee regarding filing issues.       0.20        925.00       $185.00
 07/18/2022   GNB      GC       Email with Kerri L. LaBrada regarding Committee       0.20        925.00       $185.00
                                and Counsel contacts.
 07/18/2022   JIS      GC       Call with UST re case background and employment       0.90      1525.00       $1,372.50
                                issues.
 07/18/2022   JIS      GC       Committee call re organization and first day          1.50      1525.00       $2,287.50
                                motions.
 07/18/2022   JWL      GC       Prepare for committee meeting (.5) and participate    2.10      1095.00       $2,299.50
                                in kick-off committee meeting with members and
                                individual counsel, J. Stang and G. Brown (1.5);
                                follow up email with J. Stang and G. Brown re
                                meeting (.1);
 07/19/2022   GNB      GC       Email with Gini L. Downing regarding Committee        0.10        925.00        $92.50
                                and Counsel contacts.
 07/19/2022   GNB      GC       Email with PSZJ lawyers and staff regarding work      0.50        925.00       $462.50
                                streams for case.
 07/19/2022   GNB      GC       Email Miriam Levi and Daniel Finnegan regarding       0.10        925.00        $92.50
                                Data Site and bates labeling of documents in Data
                                Site.
 07/19/2022   JIS      GC       Review draft committee minutes and revise.            0.50      1525.00        $762.50
 07/19/2022   JIS      GC       Review/revise Committee common interest               0.50      1525.00        $762.50
                                agreement.
 07/19/2022   JIS      GC       Review and revise Committee bylaws.                   0.60      1525.00        $915.00
 07/19/2022   MSP      GC       Email exchange with James I. Stang, et al. re:        0.10      1095.00        $109.50
                                Committee by-laws and common interest
                                documents.
      22-10910-shl       Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20                  Main Document
                                                   Pg 24 of 31

Pachulski Stang Ziehl & Jones LLP                                                                Page:     12
Madison Square BGC O.C.C.                                                                        Invoice 130635
54162 - 00004                                                                                    July 31, 2022


                                                                                         Hours           Rate      Amount
 07/19/2022   MSP      GC       Attention to case administrative and background           2.00      1095.00       $2,190.00
                                information (1.8); email exchange with James I.
                                Stang, John W. Lucas, Gillian N. Brown, M. Levi,
                                D. Finnegan, et al. re: same (.20).
 07/19/2022   JWL      GC       Draft and modify common interest agreement                1.00      1095.00       $1,095.00
                                between committee and committee members'
                                individual counsel (1.0);
 07/20/2022   GNB      GC       E-mail with John W. Lucas regarding deliverables          0.10        925.00        $92.50
                                for Committee.
 07/20/2022   MSP      GC       Email exchange with John W. Lucas, Gillian N.             0.10      1095.00        $109.50
                                Brown et al. re: Committee administrative matters,
 07/20/2022   MSP      GC       Attention to Committee administrative matters (.3);       0.40      1095.00        $438.00
                                email exchange with James I. Stang, Gillian N.
                                Brown, John W. Lucas, et al. re: same (.1).
 07/21/2022   JIS      GC       Draft update to committee on court hearing and            0.50      1525.00        $762.50
                                pending matters.
 07/21/2022   JIS      GC       Call with J. Lucas regarding case strategy.               0.50      1525.00        $762.50
 07/21/2022   JIS      GC       Review bylaws and common interest agreement.              0.20      1525.00        $305.00
 07/21/2022   JIS      GC       Email J. Lucas re bylaws, common interest                 0.10      1525.00        $152.50
                                agreement and update memo.
 07/21/2022   MSP      GC       Attention to Committee administrative matters,            0.50      1095.00        $547.50
                                hearing update; email exchange with James I. Stang,
                                Gillian N. Brown, John W. Lucas, J. Amala, J.
                                Freeman, et al. re: same.
 07/21/2022   JWL      GC       Review and revise committee bylaws in response to         2.50      1095.00       $2,737.50
                                comments from state court counsel (1.0); review
                                comments from state court counsel regarding
                                common interest agreement, make changes, and
                                send to J. Stang for review/comment (.5); call with J.
                                Stang regarding case strategy (.5); prepare email to
                                state court counsel regarding common interest,
                                bylaws, financial advisors, and bar date (.5);
 07/21/2022   KLL      GC       Prepare Committee sharing protocol motion.                1.10        495.00       $544.50
 07/22/2022   JIS      GC       Call with J. Lucas for meeting agenda and mediation       0.50      1525.00        $762.50
                                agenda.
 07/22/2022   MSP      GC       Telephone call with John W. Lucas re: case                0.50      1095.00        $547.50
                                litigation and general status, mediation, etc.
 07/22/2022   MSP      GC       Attention to Committee administrative matters (.3);       0.40      1095.00        $438.00
                                email exchange with John W. Lucas, et al. re: same
                                (.10).
 07/22/2022   JWL      GC       Respond to committee chair questions regarding            2.00      1095.00       $2,190.00
                                schedule (.2); call with J. Weber regarding pending
      22-10910-shl       Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20                   Main Document
                                                   Pg 25 of 31

Pachulski Stang Ziehl & Jones LLP                                                                 Page:     13
Madison Square BGC O.C.C.                                                                         Invoice 130635
54162 - 00004                                                                                     July 31, 2022


                                                                                          Hours           Rate      Amount
                                Madison motions including Paul Weiss, Teneo,
                                Friedman and Pillsbury (.3); call with J. Stang
                                regarding July 25 committee meeting agenda (.5);
                                draft agenda for July 25 committee meeting (.5); call
                                with M. Pagay re case status (.5)
 07/23/2022   JIS      GC       Email J. Lucas regarding case status/discovery.            0.10      1525.00        $152.50
 07/23/2022   MSP      GC       Email exchange with John W. Lucas et al. re:               0.10      1095.00        $109.50
                                Committee meeting.
 07/23/2022   JWL      GC       Finalize agenda for July 25 committee meeting and          0.50      1095.00        $547.50
                                send to members and counsel (.5);
 07/25/2022   JIS      GC       Email with J. Lucas regarding upcoming committee           0.10      1525.00        $152.50
                                meeting, retention.
 07/25/2022   MSP      GC       Email exchange with James I. Stang, Iain Nasatir, et       0.10      1095.00        $109.50
                                al. re: information for Committee meeting.
 07/25/2022   MSP      GC       Email exchange with John W. Lucas, M. Levi et al.          0.10      1095.00        $109.50
                                re: Committee confidentiality issues.
 07/25/2022   MSP      GC       Telephone call with John W. Lucas re: case status          0.20      1095.00        $219.00
                                and strategy.
 07/25/2022   JWL      GC       Review and revise committee info sharing motion            2.80      1095.00       $3,066.00
                                (.8); prepare for weekly committee presentation (.5);
                                attend weekly committee call with state court
                                counsel and J. Stang (1.3); call with M. Pagay re
                                case status (.2);
 07/26/2022   MSP      GC       Email with John W. Lucas re: case issues and               0.10      1095.00        $109.50
                                strategy.
 07/26/2022   JWL      GC       Review final bylaws and arrange for committee              0.80      1095.00        $876.00
                                member execution (.8);
 07/27/2022   GNB      GC       Email with James I. Stang regarding confidentiality.       0.10        925.00        $92.50
 07/27/2022   JIS      GC       Review issues related to confidentiality of Madison        0.20      1525.00        $305.00
                                documents for official committee.
 07/27/2022   MSP      GC       Attention to Committee administrative matters;             0.50      1095.00        $547.50
                                email exchange with John W. Lucas, Gillian N.
                                Brown, Iain Nasatir, Patricia Jeffries, B. Hart, et al.
                                re: same (.10).
 07/29/2022   GNB      GC       Email James I. Stang and John W. Lucas regarding           0.10        925.00        $92.50
                                issue for discussion with Committee (from Denmark
                                time zone).
 07/29/2022   JWL      GC       Call with A. Schwartz (UST) regarding case status          0.80      1095.00        $876.00
                                (.8);
 07/31/2022   MSP      GC       Attention to Committee administration matters (.8);        0.90      1095.00        $985.50
                                email exchange with John W. Lucas, J. Sapiro, et al.
                                re: same (.10).
      22-10910-shl          Doc 204    Filed 09/20/22 Entered 09/20/22 14:58:20               Main Document
                                                   Pg 26 of 31

Pachulski Stang Ziehl & Jones LLP                                                             Page:     14
Madison Square BGC O.C.C.                                                                     Invoice 130635
54162 - 00004                                                                                 July 31, 2022


                                                                                      Hours           Rate       Amount
 07/31/2022   JWL      GC       Call with G. Novod regarding case strategy (.2);       0.20      1095.00         $219.00

                                                                                      41.00                    $47,120.00

  Hearings
 07/20/2022   JIS      H        Attend hearing regarding first day motions.            1.50      1525.00       $2,287.50
 07/20/2022   JWL      H        Attend July 20, 2022 hearing regarding second day      1.50      1095.00       $1,642.50
                                motions/orders, stay motion, and mediation motion
                                (1.5);

                                                                                       3.00                     $3,930.00

  Insurance Coverage
 07/17/2022   GNB      IC       Email with Iain A.W. Nasatir regarding Rule 2004       0.30        925.00        $277.50
                                motions relating to insurance.
 07/17/2022   GNB      IC       Email internal PSZJ team regarding                     0.30        925.00        $277.50
                                insurance-related documents analyses and Rule 2004
                                discovery.
 07/18/2022   GNB      IC       Coordinate with staff for transfer of insurance        0.10        925.00         $92.50
                                documents to Iain A.W. Nasatir.
 07/18/2022   MAM      IC       Review policies for Gillian N. Brown and compare       0.50        460.00        $230.00
                                to policies in the Virtual File Room.
 07/18/2022   MAM      IC       Review and forward insurance documents to .Iain        0.40        460.00        $184.00
                                Nasatir.
 07/22/2022   JWL      IC       Review Jefferson Ins. Co. coverage letter and email    0.90      1095.00         $985.50
                                to PSZJ team regarding the same (.7); call with L.
                                Klein regarding Federal insurance (.2);
 07/24/2022   MSP      IC       Email exchange with Gillian N. Brown, et al. re:       0.10      1095.00         $109.50
                                insurance coverage information.

                                                                                       2.60                     $2,156.50

  Mediation
 07/19/2022   GNB      ME       Review emails among parties in interest regarding      0.10        925.00         $92.50
                                mediation availability.
 07/20/2022   JIS      ME       Call with G. Galardi regarding Rockefeller role in     0.20      1525.00         $305.00
                                mediation.
 07/20/2022   JWL      ME       Coordinate scheduling of initial mediation session     0.50      1095.00         $547.50
                                with committee and state court counsel (.5);
 07/21/2022   JWL      ME       Review and respond to mediation scheduling email       0.30      1095.00         $328.50
                                from M. Levi (.3);
 07/22/2022   JIS      ME       Call with Lucas, Pagay regarding upcoming              1.00      1525.00       $1,525.00
      22-10910-shl       Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20                 Main Document
                                                   Pg 27 of 31

Pachulski Stang Ziehl & Jones LLP                                                               Page:     15
Madison Square BGC O.C.C.                                                                       Invoice 130635
54162 - 00004                                                                                   July 31, 2022


                                                                                        Hours           Rate       Amount
                                mediation.
 07/22/2022   MSP      ME       Email exchange with John W. Lucas, Iain Nasatir, et      0.10      1095.00         $109.50
                                al. re: preparation for mediation.
 07/22/2022   MSP      ME       Email exchange with John W. Lucas, S. Gershowitz,        0.80      1095.00         $876.00
                                J. Freeman, L. Leder, et al. re: preparation for
                                mediation session, insurance issues, etc.
 07/22/2022   MSP      ME       Meeting with James I. Stang and John W. Lucas re:        1.00      1095.00       $1,095.00
                                preparation for initial mediation meeting.
 07/22/2022   JWL      ME       Call with J. Stang, M. Pagay regarding preparations      1.00      1095.00       $1,095.00
                                for July 25 mediation (1.0);
 07/25/2022   GNB      ME       Review email from Miriam Levi reading state court        0.10        925.00         $92.50
                                counsel contact information for Judge Chapman:
                                Email with James I. Stang regarding same.
 07/25/2022   JIS      ME       (Partial) attend mediation.                              0.90      1525.00       $1,372.50
 07/25/2022   MSP      ME       Initial meeting with Mediation Parties and Mediator.     1.00      1095.00       $1,095.00
 07/25/2022   JWL      ME       Attend kick-off mediation session with all mediation     1.00      1095.00       $1,095.00
                                parties (1.0);
 07/26/2022   MSP      ME       Email exchange with J. Eisen re: mediation list.         0.10      1095.00         $109.50
 07/27/2022   MSP      ME       Email exchange with John W. Lucas, et al. re:            0.10      1095.00         $109.50
                                mediation session.
 07/28/2022   MSP      ME       Email exchange with James I. Stang, et al. re:           0.10      1095.00         $109.50
                                mediation statement.
 07/28/2022   JWL      ME       Prepare outline for Aug. 3 mediation statement (1.5);    5.70      1095.00       $6,241.50
                                research regarding Aug. 3 Mediation Statement
                                (2.7); draft Aug. 3 mediation statement (1.5);
 07/29/2022   JWL      ME       Research and draft Aug. 3 mediation statement (2.5);     5.70      1095.00       $6,241.50
                                attend call with state court counsel regarding Aug. 3
                                mediation statement (1.0); continued research and
                                drafting of Aug. 3 mediation statement (2.2);
 07/30/2022   JWL      ME       Research and draft Aug. 3 mediation statement (2.0);     2.00      1095.00       $2,190.00
 07/31/2022   JIS      ME       Review/revise mediation statement.                       0.70      1525.00       $1,067.50
 07/31/2022   MSP      ME       Email exchange with John W. Lucas, J. Amala, et al.      0.10      1095.00         $109.50
                                re: Mediation statement.
 07/31/2022   JWL      ME       Revise Aug. 3 mediation statement and send out for       1.00      1095.00       $1,095.00
                                review and comments (1.0);

                                                                                        23.50                    $26,902.50

  Retention of Prof. [B160]
 07/16/2022   GNB      RP       Email La Asia S. Canty, Kerri L. LaBrada and             0.10        925.00         $92.50
      22-10910-shl       Doc 204      Filed 09/20/22 Entered 09/20/22 14:58:20                Main Document
                                                  Pg 28 of 31

Pachulski Stang Ziehl & Jones LLP                                                             Page:     16
Madison Square BGC O.C.C.                                                                     Invoice 130635
54162 - 00004                                                                                 July 31, 2022


                                                                                      Hours           Rate      Amount
                                Sophia Lee regarding pro hac vice papers.
 07/16/2022   GNB      RP       Email with John W. Lucas regarding PSZJ                0.10        925.00        $92.50
                                employment application.
 07/16/2022   GNB      RP       Prepare motion to employ PSZJ and associated           0.50        925.00       $462.50
                                papers.
 07/17/2022   GNB      RP       Prepare motion to employ PSZJ and associated           0.20        925.00       $185.00
                                papers.
 07/18/2022   GNB      RP       Email with staff regarding ad hoc admission for        0.10        925.00        $92.50
                                James I. Stang; Email with Gini L. Downing
                                regarding motion to employ PSZJ documents.
 07/18/2022   GNB      RP       Revise and edit motion to admit James I. Stang pro     0.20        925.00       $185.00
                                hac vice and order thereon.
 07/18/2022   JIS      RP       Call with J. Lucas regarding employment application    0.20      1525.00        $305.00
                                issues.
 07/18/2022   JWL      RP       Research regarding scope of representation issues      0.60      1095.00        $657.00
                                (.4); call with J. Stang re same (.2)
 07/20/2022   GNB      RP       Draft application to employ PSZJ and associated        1.40        925.00      $1,295.00
                                papers.
 07/25/2022   GNB      RP       Email with John W. Lucas regarding prepetition         0.10        925.00        $92.50
                                billing.
 07/25/2022   JIS      RP       Review employment application.                         0.50      1525.00        $762.50
 07/25/2022   JWL      RP       Review and revise PSZJ retention application and       2.00      1095.00       $2,190.00
                                declaration (2.0);
 07/26/2022   JWL      RP       Review and revise declaration in support of PSZJ       0.90      1095.00        $985.50
                                retention application (.9);
 07/30/2022   MSP      RP       Email exchange with John W. Lucas, Gillian N.          0.10      1095.00        $109.50
                                Brown re: PSZJ retention application.

                                                                                       7.00                    $7,507.00

  Ret. of Prof./Other
 07/18/2022   JWL      RPO      Review Debtor's retention applications and send        0.70      1095.00        $766.50
                                summary to J. Stang (.7);
 07/20/2022   JIS      RPO      Call J. Lucas re Debtor employment applications.       0.20      1525.00        $305.00
 07/20/2022   JWL      RPO      Telephone call with J. Stang regarding Debtor's        0.40      1095.00        $438.00
                                employment application.
 07/21/2022   JIS      RPO      Call J. Lucas regarding upcoming objection             0.20      1525.00        $305.00
                                deadlines and response to Debtor.
 07/21/2022   JWL      RPO      Call with M. Levi regarding Friedman retention         2.50      1095.00       $2,737.50
                                application (.2); email to the committee regarding
      22-10910-shl       Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20                  Main Document
                                                   Pg 29 of 31

Pachulski Stang Ziehl & Jones LLP                                                                Page:     17
Madison Square BGC O.C.C.                                                                        Invoice 130635
54162 - 00004                                                                                    July 31, 2022


                                                                                         Hours           Rate       Amount
                                the same (.3); prepare and send summary of
                                retention applications of Madison to Committee
                                (1.6); call with J. Stang re Debtor retention
                                applications (.4)
 07/25/2022   JWL      RPO      Prepare summary of issue for Madison regarding            0.60      1095.00          $657.00
                                Friedman Kaplan retention (.6);
 07/26/2022   JWL      RPO      Call with Madison's counsel regarding Friedman            1.10      1095.00        $1,204.50
                                Kaplan retention (.5); review Friedman Kaplan
                                original engagement letters (.4); call with M. Levi
                                regarding same (.2);
 07/27/2022   GNB      RPO      Email James I. Stang and John W. Lucas regarding          0.10        925.00          $92.50
                                potential financial advisor issues; E-mail with
                                Miriam Levi regarding same.
 07/27/2022   JWL      RPO      Call with J. Weber regarding Friedman retention           1.30      1095.00        $1,423.50
                                (.1); email to Committee regarding potential
                                resolution (.5); numerous follow up emails with
                                Committee regarding Friedman Kaplan resolution
                                (.7);
 07/28/2022   MSP      RPO      Email exchange with John W. Lucas, et al. re:             0.10      1095.00          $109.50
                                Friedman Kaplan retention.
 07/29/2022   JWL      RPO      Review revised Friedman Kaplan retention order            0.20      1095.00          $219.00
                                and follow up email to M. Levi (.2);

                                                                                          7.40                     $8,258.00

  Stay Litigation [B140]
 07/19/2022   JIS      SL       Call with J. Lucas regarding Second Circuit decision      0.30      1525.00          $457.50
                                regarding automatic stay.
 07/19/2022   JWL      SL       Research regarding effect of stay against non-debtor      1.00      1095.00        $1,095.00
                                parties to a prepetition action against a debtor (.7);
                                call with J. Stang re same (.3)

                                                                                          1.30                     $1,552.50

  TOTAL SERVICES FOR THIS MATTER:                                                                               $159,773.00
      22-10910-shl       Doc 204       Filed 09/20/22 Entered 09/20/22 14:58:20       Main Document
                                                   Pg 30 of 31

Pachulski Stang Ziehl & Jones LLP                                                    Page:     18
Madison Square BGC O.C.C.                                                            Invoice 130635
54162 - 00004                                                                        July 31, 2022



 Expenses

 07/19/2022   FF         Filing Fee [E112] USBC Southern Disctrict of New York,         200.00
                         Pro Hac Vice Fee (JIS), GNB


 07/31/2022   LN         54162.00004 Lexis Charges for 07-31-22                          10.54


 07/31/2022   OS         Everlaw, Inv. 61847, prorate for 5/31 days in the Madison       80.65
                         database for the month of July

   Total Expenses for this Matter                                                    $291.19
      22-10910-shl       Doc 204        Filed 09/20/22 Entered 09/20/22 14:58:20          Main Document
                                                    Pg 31 of 31

Pachulski Stang Ziehl & Jones LLP                                                         Page:     19
Madison Square BGC O.C.C.                                                                 Invoice 130635
54162 - 00004                                                                             July 31, 2022


                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        07/31/2022

Total Fees                                                                                           $159,773.00

Total Expenses                                                                                             291.19

Less Courtesy Discount                                                                                 $31,853.00

Total Due on Current Invoice                                                                         $128,211.19

  Outstanding Balance from prior invoices as of        07/31/2022          (May not include recent payments)

A/R Bill Number           Invoice Date              Fees Billed         Expenses Billed             Balance Due



             Total Amount Due on Current and Prior Invoices:                                          $128,211.19
